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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case # 3:08cr22-012LAC

RONALD WHITE a/k/a “Roadkill”
                                                                 USM # 24078-057

                                                                 Defendant’s Attorney:
                                                                 Clinton Couch (Appointed)
                                                                 3 West Garden Street, Suite 707
                                                                 Pensacola, Florida 32502-5660
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty on Counts 1, 2, 39 & 40 of the Superseding Indictment on January
14, 2009. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which
involve the following offenses:

       TITLE/SECTION                                 NATURE OF                   DATE OFFENSE
          NUM BER                                     OFFENSE                     CONC LUDED       COUNT

 18 U.S.C. § 2252A(g)               Engaging in a Child Exploitation              March 18, 2008     1
                                    Enterprise

 18 U.S.C. §§ 371,                  Conspiracy to Advertise the Exchange of       March 18, 2008     2
 2251(d)(1), 2252A(a)(1)            Child Pornography, Kn ow ingly
 and (2) and 1512(c)(2)             Transporting and Shipping Ch ild
                                    Pornography in Interstate and Foreign
                                    Com m erce via the Com puter,
                                    Possession of Child Pornography
                                    Shipped or T rans porte d in Interstate
                                    Com merce, Receipt and Attempted
                                    Receipt of Child Pornography and
                                    Obstruction of Justice

 18 U.S.C. §§ 2252A(a)(2)           Receipt and Attem pte d R eceipt of Ch ild    March 18, 2008     39
 and 2                              Pornography

 18 U.S.C. § 1512(c)(2)             Obstruction of Justice                        March 18, 2008     40



The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.
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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.



                                                             Date of Imposition of Sentence:
                                                             April 14, 2009




                                                             s /L.A. Collier
                                                             LACEY A. COLLIER
                                                             SENIOR UNITED STATES DISTRICT JUDGE

                                                             April 28, 2009
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                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Life as to Count 1, 360 months as to Count 2 and 240 months as to
Counts 39 & 40, with each count to run concurrently one with the other.

The Court recommends to the Bureau of Prisons: The defendant shall participate in a Sex Offender
Treatment Program or other such similar program offered through the Bureau of Prisons.

         The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                       UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                             SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Life as to Counts 1, 2 & 39 and 3 years as to Count 40, with each count to run
concurrently one with the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defe nda nt shall repo rt to the prob ation o fficer and sha ll subm it a truthf ul and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to a ny c ontrolled
         substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         ass ociate with any person convicted of a felony unless granted permission to do so by the probation
         officer;
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10.      The defendant sha ll perm it a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendan t shall not enter into any agreem ent to act as an inform er or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the def end ant s hall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or p ersonal history or c haracte ristics and shall perm it
         the prob ation o fficer to m ake su ch n otification s an d to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

         1) In accordance with 42 U.S.C. § 16913 and Florida Statutes 775.21 and 943.0435, the
         defendant sh all re gister as a sex offender in e ach ju risdiction where he re sides, is em ployed, or is
         a stud ent. For initial reg istratio n purposes, th e defendant s hall also re gister in the ju risdiction in
         which he was convicted if such jurisdiction is different from the jurisdiction of residence. The
         defendant shall initially register before completing a sentence of imprisonment with respect to the
         offense giving rise to the registration. The defendant is required to keep the registration current by
         appearing in person in at least one jurisdiction in which the defendant is registered and reporting
         any changes in name, residence, employment, or student status not later than 48 hours after the
         change has occurred.

         2) The defendant shall participate in a sex offender treatment program which may include testing
         by the treatment provider. The defendant may be required to pay or contribute to the cost of
         servic es ren dered based upon fina ncial ability.

         3) The defendant shall submit to a search of his person, property, house, residence, vehicle,
         pap ers, com pute r, other electronic com m unication o r data stora ge d evice s or m edia, and effects
         at any tim e, w ith or witho ut a warrant, b y any law enforcem ent or pro bation officer with reasonable
         suspicion concerning unlawful conduct or a violation of a condition of supervised release pursuant
         to 18 U.S.C. § 35 83(d).

         4) The defendant shall not possess or have under his control any pornographic, sexually oriented,
         or sexually stimulating material, including visual, auditory, telephonic, or electronic media. The
         defendant sh all also not patronize any estab lishm ent wh ere such m ate rial or e nte rtainm ent is
         available.

         5) The defendant shall not possess nor have under his control any material that depicts sexual
         activities with minors or actors representing themselves to be under the age of eighteen.
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         6) T he d efenda nt shall not po sse ss o r use a com pute r, cellular teleph one , or any device with
         access to any on-line service at any time (including employment) at any location without prior
         written approval from the supervising probation officer. This includes access through any Internet
         service provider, bulletin board system , e-ma il system, or any public or private com puter network
         system. The defendant shall permit routine inspection of his computer system or any other
         com puter system m aintain ed at th e defendant’s res idence to include hard drive s and any m edia
         storage m aterials, to confirm a dherenc e to this condition. The inspe ction shall be no m ore
         intrusive than is absolutely necessary to ensure compliance with the defendant’s conditions of
         supervision. The defendant shall consent to the installation of any hardware/software systems
         designated to monitor computer activities on any computer the defendant is authorized to use.
         The defendant sh all inform his em ployer, or other third party wh o m ay be im pacte d by this
         condition, of this computer-related restriction and the computer inspection provisions of the
         condition. Further, the defendant shall be required to contribute to the costs of the computer
         monitoring based upon his financial ability at the time.

         7) The defendant’s employment shall be restricted to the district and division where he resides
         and is supervised, unless approved by the Court. Prior to accepting any form of employment, the
         defendant shall seek the approval of the probation officer, in order to allow the probation officer
         the opportunity to assess the level of risk to the com m unity the defendant will pose if e m ployed in
         a pa rticular c apa city. Em ployers sha ll be inform ed o f the defenda nt’s offense o f con viction.

         8) The defendant’s residence shall be pre-approved by the probation officer to ensure the
         defend ant is in c om plianc e with local or cou nty ordinances and state law.

         9) The defendant shall not rent or have control of a post office box or storage unit, without prior
         knowledge and app rova l of the s upe rvising prob ation o fficer. The de fendan t is also requ ired to
         allow the supervising probation officer access to the post office box or storage unit as deemed
         warrante d to enforce any co nditions im pos ed b y this Co urt.

         10) The defendant shall not have any contact, other than incidental contact in a public forum such
         as ordering in a restaurant, grocery shopping, etc., with any person under the age of eighteen
         without the prior permission of the supervising probation officer. Any approved contact shall be
         supervised by an adult at all times. The contact addressed in this condition includes, but is not
         limited to, direct or indirect contact, whether personally, by computer, telephone, letter or through
         a third party. If the defendant has any contact with any child (person under the age of 18), not
         oth erwis e address ed in this condition, th e defendant is req uired to im m ediate ly rem ove him self
         from the situatio n and notify the probation officer im m ediate ly.

         11) The defendant is prohibited from volunteering, engaging in leisure activities, or frequenting
         places where minor children congregate, including, but not limited to, schools, swimm ing areas,
         parks, playgrounds, child care facilities, shopping malls, arcades, theaters, and other recreational
         areas.

         12) T he d efenda nt shall participate in a prog ram of m enta l health treatm ent.
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       Upon a finding of a violation of probation or supervised release, I understand the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.




         Defendant                                                        Date




         U.S. Probation Officer/Designated Witness                        Date
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                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                 Restitution

               $400.00                                       $0                       $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $400.00 ($100.00 each count) is imposed and is to
be paid immediately.

No fine imposed.
No restitution imposed.
